Case 6:10-cv-00015-NKM   Document 45 Filed 11/30/10   Page 1 of 54   Pageid#:
                                    610
Case 6:10-cv-00015-NKM   Document 45 Filed 11/30/10   Page 2 of 54   Pageid#:
                                    611
Case 6:10-cv-00015-NKM   Document 45 Filed 11/30/10   Page 3 of 54   Pageid#:
                                    612
Case 6:10-cv-00015-NKM   Document 45 Filed 11/30/10   Page 4 of 54   Pageid#:
                                    613
Case 6:10-cv-00015-NKM   Document 45 Filed 11/30/10   Page 5 of 54   Pageid#:
                                    614
Case 6:10-cv-00015-NKM   Document 45 Filed 11/30/10   Page 6 of 54   Pageid#:
                                    615
Case 6:10-cv-00015-NKM   Document 45 Filed 11/30/10   Page 7 of 54   Pageid#:
                                    616
Case 6:10-cv-00015-NKM   Document 45 Filed 11/30/10   Page 8 of 54   Pageid#:
                                    617
Case 6:10-cv-00015-NKM   Document 45 Filed 11/30/10   Page 9 of 54   Pageid#:
                                    618
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 10 of 54   Pageid#:
                                       619
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 11 of 54   Pageid#:
                                       620
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 12 of 54   Pageid#:
                                       621
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 13 of 54   Pageid#:
                                       622
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 14 of 54   Pageid#:
                                       623
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 15 of 54   Pageid#:
                                       624
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 16 of 54   Pageid#:
                                       625
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 17 of 54   Pageid#:
                                       626
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 18 of 54   Pageid#:
                                       627
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 19 of 54   Pageid#:
                                       628
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 20 of 54   Pageid#:
                                       629
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 21 of 54   Pageid#:
                                       630
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 22 of 54   Pageid#:
                                       631
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 23 of 54   Pageid#:
                                       632
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 24 of 54   Pageid#:
                                       633
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 25 of 54   Pageid#:
                                       634
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 26 of 54   Pageid#:
                                       635
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 27 of 54   Pageid#:
                                       636
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 28 of 54   Pageid#:
                                       637
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 29 of 54   Pageid#:
                                       638
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 30 of 54   Pageid#:
                                       639
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 31 of 54   Pageid#:
                                       640
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 32 of 54   Pageid#:
                                       641
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 33 of 54   Pageid#:
                                       642
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 34 of 54   Pageid#:
                                       643
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 35 of 54   Pageid#:
                                       644
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 36 of 54   Pageid#:
                                       645
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 37 of 54   Pageid#:
                                       646
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 38 of 54   Pageid#:
                                       647
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 39 of 54   Pageid#:
                                       648
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 40 of 54   Pageid#:
                                       649
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 41 of 54   Pageid#:
                                       650
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 42 of 54   Pageid#:
                                       651
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 43 of 54   Pageid#:
                                       652
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 44 of 54   Pageid#:
                                       653
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 45 of 54   Pageid#:
                                       654
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 46 of 54   Pageid#:
                                       655
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 47 of 54   Pageid#:
                                       656
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 48 of 54   Pageid#:
                                       657
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 49 of 54   Pageid#:
                                       658
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 50 of 54   Pageid#:
                                       659
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 51 of 54   Pageid#:
                                       660
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 52 of 54   Pageid#:
                                       661
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 53 of 54   Pageid#:
                                       662
Case 6:10-cv-00015-NKM   Document 45     Filed 11/30/10   Page 54 of 54   Pageid#:
                                       663
